                Case 24-11967-JKS             Doc 1099        Filed 11/14/24         Page 1 of 1




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                 Chapter 11

In re:                                                           Case No. 24-11967 (JKS)

BIG LOTS, INC., et al.,                                          (Jointly Administered)

                          Debtors. 1                             Re: D.I. 1095


                                     OMNIBUS HEARING ORDER

         IT IS HEREBY ORDERED that an omnibus hearing has been scheduled in the above-

captioned cases for the following date and time:


                                 DATE                                      TIME

                         December 19, 2024                            2:00 p.m. (ET)




                                                                       J. KATE STICKLES
Dated: November 14th, 2024                                             UNITED STATES BANKRUPTCY JUDGE
Wilmington, Delaware


         1
            The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective employer identification numbers, are as follows: Great Basin, LLC (6158); Big Lots, Inc. (9097); Big Lots
Management, LLC (7948); Consolidated Property Holdings, LLC (0984); Broyhill LLC (7868); Big Lots Stores -
PNS, LLC (5262); Big Lots Stores, LLC (6811); BLBO Tenant, LLC (0552); Big Lots Stores - CSR, LLC (6182);
CSC Distribution LLC (8785); Closeout Distribution, LLC (0309); Durant DC, LLC (2033); AVDC, LLC (3400);
GAFDC LLC (8673); PAFDC LLC (2377); WAFDC, LLC (6163); INFDC, LLC (2820); Big Lots eCommerce LLC
(9612); and Big Lots F&S, LLC (3277). The address of the debtors’ corporate headquarters is 4900 E. Dublin-
Granville Road, Columbus, OH 43081.
